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       8
                               UNITED STATES DISTRICT COURT
       9                      CENTRAL DISTRICT OF CALIFORNIA
      10
            WELLS FARGO BANK, N.A.,        ) Case No. 2:17-cv-2312 VAP (JEMx)
      11                                   )
                               Plaintiff,  ) INVENTORY AND
      12                                   ) VERIFICATION OF ITEMS
      13          vs.                      ) SEIZED PURSUANT TO ORDER
                                           ) RE: INSTRUCTION TO U.S.
      14    RUFFTOWN ENTERTAINMENT         ) MARSHAL TO LEVY UPON
            GROUP, INC., RADIO MULTI       ) PERSONAL PROPERTY OF
      15    MEDIA, INC., RENE MOORE MUSIC,) JUDGMENT DEBTORS;
            INC., and IVAN RENE MOORE,     ) MEMORANDUM OF POINTS AND
      16
                                           ) AUTHORITIES
      17                                   )
                               Defendants. ) [Declaration of Kimberly Barbour and
      18                                   ) Request for Judicial Notice
                                           ) concurrently-filed herewith]
      19                                   )
      20                                   )
                                           )
      21                                   )
                                           )
      22                                   )
      23

      24                Pursuant to this Court’s Order Denying the Motion of Ivan Rene Moore to
      25    Vacate, Recall Levy, or Void Order of Instruction to U.S. Marshal, Judgment Creditor,
      26    Wells Fargo Bank, N.A. (“Wells Fargo” or “Bank”), hereby submits the following
      27    Inventory and Verification of Items Seized Pursuant to Order re: Instruction to U.S.
      28    Marshal to Levy Upon Personal Property of Judgment Debtors (“Verification Brief”).

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                                                        INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1    This Verification Brief is made upon the grounds that Wells Fargo has a secured and
       2    perfected interest in the subject personal property identified within the Verification
       3    Brief and belonging to Ivan Rene Moore, Rufftown Entertainment Group, Inc., Radio
       4    Multi Media, Inc., and/or Rene Moore Music, Inc. (collectively, the “Judgment
       5    Debtors”). This Verification Brief is also made upon the grounds that Wells Fargo, a
       6    judgment creditor of Judgment Debtors, is owed no less than $7,136,505.63 and
       7    therefore, is entitled to execute upon Judgment Debtors’ assets and apply the proceeds
       8    from the sale of those assets to the amount due and owing under the Judgment, subject
       9    to the procedures provided under 28 U.S.C. § 3203.
      10                 This Verification Brief is based upon the attached Memorandum of Points
      11    and Authorities, the concurrently-filed declaration of Kimberly Barbour, the
      12    concurrently-filed Request for Judicial Notice, the previously filed Notice of Levy
      13    [Document Number 29], the previously filed declaration of Karen Troutman [Document
      14    Number 31], the previously filed declaration of Edward Testo [Document Number 32]
      15    and all of the pleadings, files, and records in this case.
      16

      17    DATED: June 16, 2017                     ASSAYAG  MAUSS
      18
                                                     A Limited Liability Partnership

      19

      20
                                                     By: /s/Joshua K. Partington
                                                         JOSHUA K. PARTINGTON
      21                                             Attorneys for Judgment Creditor,
      22                                             WELLS FARGO BANK, N.A.

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                                                             INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                         MEMORANDUM OF POINTS AND AUTHORITIES
       2    I.      FACTUAL BACKGROUND.
       3                     On or about May 11, 2015, the United States District Court for the Eastern
       4    District of Wisconsin entered an Amended Judgment (“Judgment”) in favor of
       5    Judgment Creditor, Wells Fargo Bank, N.A. (“Wells Fargo” or “Bank”), and as against
       6    Ivan Rene Moore, Rufftown Entertainment Group, Inc., Radio Multi Media, Inc., and
       7    Rene Moore Music, Inc. (collectively, the “Judgment Debtors”). See, Request for
       8    Judicial Notice (“RJN”), Exhibit “1.” The Judgment against Judgement Debtors is for
       9    the sum of $7,106,037.28. Id. Additionally, the Judgment provides that Wells Fargo
      10    “may replevin the intangible property, personal property, royalties, profits and other
      11    collateral […].” Id. On or about July 14, 2016, the United States District Court for the
      12    Central District of California registered the Judgment in Case Number 2:16-mc-00093-
      13    UA. See, RJN, Exhibit “2.” On or about August 11, 2016, a Notice of Judgment Lien,
      14    as against Judgment Debtors, was filed with the California Secretary of State, as
      15    document number 16-7542149322 (“Notice of Lien”). See, RJN, Exhibit “3.”
      16                     On or about September 28, 2016, Kimberly Barbour, aka Kimberly Martin-
      17    Bragg (“Ms. Barbour”), filed a voluntary Chapter 7 bankruptcy petition in the United
      18    States Bankruptcy Court for the Central District of California, thereby initiating Case
      19    Number 2:16-bk-22878-BR.                   Ms. Barbour was in possession of certain personal
      20    property that is subject to replevin and/or repossession pursuant to Wells Fargo’s rights
      21    under the Judgment. See, Declaration of Kimberly Barbour (“Barbour Decl.”), ¶¶ 4-6.
      22    On or about December 21, 2016, Wells Fargo filed a Motion for Relief from the
      23    Automatic Stay with respect to the personal property. See, RJN, Exhibit “4.” Ivan
      24    Rene Moore1 (“Mr. Moore”), among others, was provided with notice of Wells Fargo’s
      25    Motion for Relief from the Automatic Stay and further objected to the Motion. Id. On
      26
      27    1
             On or about October 9, 2012, Ivan Rene Moore was designated a Vexatious Litigant as defined by California Code of Civil
            Procedure § 391, et seq. See, RJN, Exhibit “10,” Page 2. As such, Mr. Moore’s name appears on the Vexatious Litigant List,
      28    maintained by the Judicial Council of California. See, RJN, Exhibit “11.”
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    MAUSS                                                                INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1    or about January 19, 2017, in spite of oral argument by Ivan Rene Moore in opposition
       2    to Wells Fargo’s Motion for Relief from the Automatic Stay, the Motion for Relief from
       3    the Automatic Stay was granted, thereby terminating the automatic stay as to Wells
       4    Fargo with respect to the personal property of Judgment Debtors and further permitting
       5    Wells Fargo to exercise all of its rights and pursue all of its remedies with respect to its
       6    security interest in and to the personal property of Judgment Debtors held at the
       7    residence of Ms. Barbour. See, RJN, Exhibits “5” and “6.”
       8                     On or about February 3, 2017, the United States District Court for the
       9    Central District of California issued Writs of Execution in favor of Wells Fargo and as
      10    against Judgment Debtors. See, RJN, Exhibit “7.” In connection with the levy upon the
      11    Writs of Execution and in coordination with the collection of the personal property of
      12    Judgment Debtors from the residence of Ms. Barbour, on or about March 10, 2017,
      13    Wells Fargo filed, with this Court, an Ex Parte Application for Order re: Instruction to
      14    U.S. Marshal to Levy Upon Personal Property (the “Ex Parte Application”). See, RJN,
      15    Exhibit “8.” On or about March 27, 2017, this Court entered an Order re: Instruction to
      16    U.S. Marshal to Levy Upon Personal Property of Judgment Debtors (“Order re: Levy”).
      17    See, RJN, Exhibit “9.” The Order re: Levy authorized the U.S. Marshal to seize those
      18    items of personal property listed in the Ex Parte Application (the “Authorized Items”).
      19    See, RJN, Exhibit “5.” On or about April 20, 2017, the U.S. Marshal levied upon the
      20    personal property of Judgment Debtors in accordance with the Order re: Levy 2. See,
      21    Barbour Decl., ¶ 4; Declaration of Karen Troutman3 (“Troutman Decl.”) ¶ 3, Exhibit
      22    “1”; Declaration of Edward Testo4 (“Testo Decl.”) ¶ 2, Exhibit “1.” A designation of
      23    the items seized by the U.S. Marshal (the “Collected Property”) is set forth in
      24    Section III, below, as well as attached as Exhibit “1” to the previously filed Notice of
      25
            2
              A true and correct listing of the personal property collected by the United States Marshal (“Collected Property”) is
      26
            attached as Exhibit “1” to the Notice of Levy, filed with the Court on or about June 8, 2017 as Document Number 29.
            3
              The Declaration of Karen Troutman, and the exhibits thereto, were filed with this Court on or about June 8, 2017, as
      27    Document Number 31.
            4
              The Declaration of Edward Testo, and the exhibits thereto, were filed with this Court on or about June 8, 2017, as
      28    Document Number 32.
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ASSAYAG                                                                ____________________________________________________________
    MAUSS                                                               INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1    Levy. [Document Number 29, Exhibit “1.”] Wells Fargo is currently holding the
       2    personal property of Judgment Debtors as the Court-ordered substitute custodian, and,
       3    on June 8, 2017, filed a Motion for Order re: Sale of Personal Property of Judgment
       4    Debtors (“Motion re: Sale”). [Document Numbers 28-33]. Moreover, Wells Fargo
       5    provided notice of the Motion re: Sale to those parties previously identified by Mr.
       6    Moore as alleged interest-holders in the personal property. Id.
       7

       8    II.   EVIDENCE OF OWNERSHIP BY JUDGMENT DEBTORS.
       9                 As a threshold matter, Mr. Moore has taken inconsistent positions from
      10    case to case in respect of the ownership interest he has in the Authorized Items and the
      11    Collected Property. Mr. Moore recently stated, “I am not the owner to the majority of
      12    the subject property[…].”    See, Motion for Sanctions Pursuant to FRCP Rule 11
      13    [Document Number 21] (“Rule 11 Motion”), page 16, lines 26-27. However, Mr.
      14    Moore’s statements disclaiming ownership of the Authorized Items and the Collected
      15    Property are conclusively contradictory to previous statements he has made in other
      16    court proceedings concerning the personal property at issue.
      17                 First, Mr. Moore recently represented that he owned the Authorized Items
      18    and the Collected Property when he filed a Motion for Order to Inspect, Itemize and
      19    Collect Plaintiff’s Personal Property in the Los Angeles County Superior Court
      20    (“Motion to Inspect”) wherein Mr. Moore, in making a request to collect the Authorized
      21    Items and Collected Property, continually stated that he needed “his property” back,
      22    which was located at the Residence. See, RJN, Exhibit “14.” Mr. Moore further
      23    represented in the Motion to Inspect that “[a]ll this property has been determined to be
      24    Mr. Moore’s by both a jury and Judge Rosenblatt and the California court of Appeals
      25    Second District.” Id. at p. 6. Therefore, according to Mr. Moore’s Motion to Inspect,
      26    as of May 18, 2016, the Authorized Items and the Collected Property were owned by
      27    Mr. Moore.
      28
                                                        -3-
ASSAYAG                                                 ____________________________________________________________
    MAUSS                                                INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                     Second, Mr. Moore represented in his Chapter 11 bankruptcy petition, filed
       2    on or about October 26, 2016, that the Authorized Items and the Collected Property,
       3    which included “my music production and broadcast studio, and all my equipment
       4    possessions [he] acquired over [his] lifetime” and which were located at the Residence,
       5    were assets of Mr. Moore’s personal bankruptcy estate. See, RJN, Exhibit “12,” page
       6    12, lines 4-65. Mr. Moore further stated, in his Chapter 11 bankruptcy petition, that “I
       7    have been without my studio and professional property since 2012” in referencing the
       8    musical equipment and personal property located at the real property located at 6150
       9    Shenandoah Avenue, Los Angeles, California 90056 (the “Residence”). Id. at page 12,
      10    lines 24-26.        Therefore, according to Mr. Moore’s own bankruptcy filings, as of
      11    October 26, 2017, the Authorized Items and the Collected Property were owned by Mr.
      12    Moore.
      13                     Third, Mr. Moore recently provided this Court with evidence that he is the
      14    true owner of the Authorized Items and the Collected Property. In Mr. Moore’s recent
      15    Rule 11 Motion, Mr. Moore himself attached a 2013 Order from the Los Angeles
      16    County Superior Court, conclusively evidencing that the Authorized Items and the
      17    Collected Property are owned by Mr. Moore. See, Rule 11 Motion [Document Number
      18    21], pages 21-26. As such, and according to the 2013 Order provided by Mr. Moore,
      19    the Authorized Items and the Collected Property have been owned by Mr. Moore since
      20    he was evicted from the Residence in 2012.
      21                     Fourth, Mr. Moore has a storied litigation history with his former domestic
      22    partner, Ms. Barbour. Ms. Barbour is the owner of the Residence. See, Barbour
      23    Decl., ¶ 1. Ms. Barbour currently resides at the Residence and has resided and been in
      24    continuous possession of the Residence, since 2002. See, Barbour Decl., ¶ 2. Mr.
      25    Moore resided with Ms. Barbour at the Residence from 2002 to 2010. See, Barbour
      26
            5
              Mr. Moore’s Chapter 11 bankruptcy case was dismissed by the United States Bankruptcy Court on December 13, 2016.
      27    Wells Fargo respectfully requests that the Court review the Bankruptcy Court’s opinion in connection with the dismissal of
            Mr. Moore’s Chapter 11 bankruptcy case as its contents are noteworthy with respect to Mr. Moore’s penchant for litigation
      28    aimed at the frustration of the judicial process. See, RJN, Exhibit “13.”
                                                                        -4-
ASSAYAG                                                                  ____________________________________________________________
    MAUSS                                                                 INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1    Decl., ¶ 3. The Authorized Items and the Collected Property have been located and
       2    stored at the Residence since at least 2011. See, Barbour Decl., ¶ 5. Pursuant to the
       3    personal knowledge of Ms. Barbour, which is based upon her history with Mr. Moore,
       4    and her continuous possession of the Residence for over fifteen years, all of the
       5    Collected Property levied and seized on April 20, 2017, was owned by Judgment
       6    Debtors. See, Barbour Decl., ¶¶ 4, 6.
       7                Finally, there is a pending adversary proceeding in the United States
       8    Bankruptcy Court between Mr. Moore and Ms. Barbour as Adversary Case Number
       9    2:16-ap-01543-BR. In Mr. Moore’s Adversary Complaint against Ms. Barbour, he
      10    describes, in detail, his ownership interest in much of the Authorized Items and the
      11    Collected Property, as follows:
      12

      13
                  62. Consistent with the evidence provided at trial, the debtor [Ms.
                  Barbour] holds and control the creditor Ivan Rene Moore’s personal
      14          business and family properties referenced below:
      15
                  SSL Solid State Recording Console (K) Series valued over
      16          $450,000.00;Tape recorders; analog and Sony digital 3348 HR, 80
      17          Channel Pro tools system; rare and vintage microphone collections
                  valued over $350,000,00; lOOk of various software, $225k of touring
      18          equipment, cash of over 250k; Classic Guitars Fender and Gibson and
      19          fender; Kramer Music man Basses; most every keyboard and
                  synthesizer; 6 Fender Rhodes keyboards; 3 Wurlitzer keyboard;
      20          Hammond b-3 organ 2 Leslie speakers, 35mm film cameras w lenses;
      21          (16) Neve Eq,; all of my clothes and jewelry, complete home
                  furnishings, paintings; (9) Rolex men's watches (6) Rolex, Paiget,
      22          Hamilton female watches that belong to my mother (now deceased),
      23          my deceased mother and father's jewelry, loose diamonds, (18) Gold
                  Bars, female (5) Carat pair shape diamond ring that belonged to my
      24          now deceased mother; family bearer bonds; family Pictures, family
      25          birth certificates, Silver wear, China, Crystal, legal documents, deed
                  to properties in other states, complete set of California Practices
      26          Guides law book, legal court documents for all of my cases past and
      27          present, court transcripts, radio stations clients files, Los Angeles
                  Philharmonic 150 page complete orchestration score of the song
      28
                                                      -5-
ASSAYAG                                                ____________________________________________________________
    MAUSS                                               INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1            Somewhere Far Away written by Rene Moore and Jo Westmoreland
       2            performed by Rene Moore with Zubin Mehta conducting; written
                    music and string orchestrations of over 350 recorded songs, work
       3            tapes and documentation for over 750 songs, master recordings,
       4            unreleased films purchased by the judgment creditor, (25) video
                    footage of artists sign to label and final masters, film footage, master
       5            recording and work tapes of Michael Jackson, Janet Jackson,
       6            Madonna, En Vogue, Rickey Martin, Isley Brothers, Shaquille
                    O'Neal, Maxie Priest, Ivy Lies, Rene & Angela, Notorious Big, Jay-Z
       7            certificate of deposits, 25 movie footage sound effect library, (2)
       8            motorcycles, racing car parts, (3) Mikes racing transmissions 3 power
                    glide, (4 )Turbo 400 transmission, 600 cubic (5) Chevy racing
       9            engines, (5) set of big Chief big block racing heads,(6) continental
      10            racing converters, Hitoque big block starters, (5) Pro tool systems HD
                    and many others items missing. See, RJN, Exhibit “15,” page 20.
      11

      12
                             Mr. Moore will no doubt attempt to claim, once again, that the Authorized
      13
            Items and the Collected Property belong to others. However, based upon the foregoing
      14
            evidence, Mr. Moore should be estopped from doing so. As indicated above, Mr.
      15
            Moore has filed pleadings in several state and federal courts demonstrating that he is the
      16
            owner of the subject personal property.                       Mr. Moore cannot, once again, take an
      17
            inconsistent position with respect to his ownership interest in the Authorized Items and
      18
            the Collected Property. It is simply unjust for Mr. Moore to, on the one hand, disclaim
      19
            any ownership interest whatsoever in the Authorized Items and the Collected Property,
      20
            while at same time filing signed pleadings in other courts in pursuit of rights and
      21
            remedies based upon his ownership interest in the Authorized Items and the Collected
      22
            Property6. As such, Wells Fargo submits to this Court that it has met its burden of
      23
            proof, through declarations, judicially noticeable documents, as well as the admissions
      24

      25

      26
            6
              This is not the first instance in which Mr. Moore has been caught by a Court making inconsistent admissions with respect
      27    to the ownership of property. The Los Angeles County Superior Court made a similar finding in its Statement of Decision
            wherein it described that Mr. Moore “completely reversed” his assertion concerning his ownership interest in a piece of
      28    real property. See, RJN, Exhibit “16” pages 19-21.
                                                                        -6-
ASSAYAG                                                                  ____________________________________________________________
    MAUSS                                                                 INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1    of Mr. Moore himself, in proving that the Authorized Items and the Collected Property
       2    are owned by Judgment Debtors.
       3

       4    III.    INVENTORY AND VERIFICATION OF SEIZED ITEMS.
       5                  A true and correct identification and designation of the Collected Property
       6    is attached as Exhibit “1” to the Notice of Levy [Document Number 29]. Wells Fargo
       7    has reviewed the Collected Property and confirmed that all of the personal property
       8    collected is personal property of the Judgment Debtors and, further, was an Authorized
       9    Item of personal property listed for seizure in the Order re: Levy.                            See, Barbour
      10    Decl., ¶¶ 4-6. Wells Fargo hereby submits the following inventory of the Collected
      11    Property which further identifies and references the specific item identified in the
      12    Authorized Items.
      13
             Qty.                   STUDIO EQUIPMENT INVENTORY                         REFERENCE
      14

      15                                                                              RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
              lot   80-channel analog mixing console, "SSL", mdl. 9080, with:
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      16                                                                              RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                    (approx. 15 boxes) miscellaneous cables and parts
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      17                                                                              RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                    (2) large boxes SSL cables
      18                                                                              14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                    pile of miscellaneous SSL cables
      19                                                                              14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
      20            SSL tower consisting of:
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
      21            (5) SOLID STATE LOGIC SSL K-Series power modules
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      22                                                                              RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                    (1) power conditioner and light module, mdl. PL-8
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      23            (1) SOLID STATE LOGIC mdl. SL961 console power station            RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                    module                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
      24                                                                              RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                    (1) TEKTRONIX NTSC generator, mdl. SPG-170A
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      25

      26                                                                              RJN, Ex. 5, pp. 3, 5 & 6; Ex. 12; Ex.
              lot   gig box with:
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      27                                                                              RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
                    (1) FURMAN power conditioner, Merit Series M-8L
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      28
                                                                -7-
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    MAUSS                                                         INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                                                                           RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  (1) DIGIDESIGN 888 I/O 24 audio interface
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       2                                                                           RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  (1) power strip
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       3
                                                                                   RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  (1) keyboard
       4                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  miscellaneous cables
       5                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.

       6                                                                           RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
            lot   gig box with:
       7                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) TASCAM CD-401MK II professional CD player
       8                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, pp. 4 & 6; Ex. 12; Ex.
       9          (1) PROTEUS/2 Orchestral EMU Systems expander module
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
                  (2) FURMAN TX-3 turntables, 2/3-way crossover bandpass           RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
      10          filter                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
      11                                                                           RJN, Ex. 5, pp. 6; Ex. 12; Ex. 14;
                  (2) BOSS CE-300 Super Chorus pedals
                                                                                   Ex. 15; Barbour Decl. ¶¶4-6.
      12                                                                           RJN, Ex. 5, pp. 4 & 6; Ex. 12; Ex.
                  (1) CROWN D150A power amp
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      13                                                                           RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  (2) BGW 7500 Proline II power amps
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      14                                                                           RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  (1) CROWN PS-200 power amp
      15                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, pp. 4 & 6; Ex. 12; Ex.
                  (1) Effectron ADM 1024 digital delay unit
      16                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, pp. 4 & 6; Ex. 12; Ex.
      17          (1) TECHNICS M85 tape player
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.

      18
                                                                                   RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
             2    STUDIO MASTER 8-into-4 mixers
      19                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.

      20                                                                           RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
             1    OTARI MX5050 reel-to-reel tape recorder
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      21

      22                                                                           RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
             1    ROLAND D-70 Super LA synthesizer (some frozen keys)
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      23
                                                                                   RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
      24     1    NOVATRON Remote 61SL keyboard
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      25
                  RHODES Seventy Three keyboard (poor condition - frozen           RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
             1
      26          keys)                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.

      27                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
            lot   (box 120) new miscellaneous cables
                                                                                   15; Barbour Decl. ¶¶4-6.
      28
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       1
            lot   roller rack, wood, with:
       2
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  (1) FURMAN TX3 turntable 2/3-way crossover bandpass filter
       3                                                                           15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, pp. 6; Ex. 12; Ex. 14;
                  (1) Midi Timepiece MTP AV
       4                                                                           Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
       5          (1) KORG OIR/W music workstation
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
       6          (1) ROLAND linear synthesizer
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       7                                                                            RJN, Ex. 5, pp. 4 & 6; Ex. 12; Ex.
                  (1) PANASONIC DAT recorder, mdl. SV-3800
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       8                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  (1) MEDEA uninterruptible power supply
                                                                                   15; Barbour Decl. ¶¶4-6.
       9                                                                            RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
                  (1) ROLAND digital piano, mdl. MKS-20
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      10
                                                                                    RJN, Ex. 5, pp. 4 & 6; Ex. 12; Ex.
                  (1) DYNATEK disc drive
      11                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp.1, 2 & 6; Ex. 12; Ex.
                  (1) SOLID STATE LOGIC disc drive
      12                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      13          (lot) miscellaneous cables
                                                                                   15; Barbour Decl. ¶¶4-6.
      14
            lot   roller rack, wood, with:
      15                                                                            RJN, Ex. 5, pp.3 & 6; Ex. 12; Ex.
                  (2) FURMAN PL8 power conditioners
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      16                                                                            RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
                  (1) DBX Professional 900 Series outboard rack module
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      17
                                                                                    RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
                  (1) UREI 6500 power amp
      18                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
                  (15) patch bays
      19                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.

      20                                                                            RJN, Ex. 5, pp.1 & 6; Ex. 12; Ex.
             1    YAMAHA grand piano, mdl. C7, white
      21                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.

      22    lot   consisting of:
                                                                                    RJN, Ex. 5, pp.3 & 6; Ex. 12; Ex.
      23          (1) bass drum
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      24                                                                            RJN, Ex. 5, pp.3 & 6; Ex. 12; Ex.
                  (1) snare drum
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      25                                                                            RJN, Ex. 5, pp.3 & 6; Ex. 12; Ex.
                  (1) cymbal
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      26                                                                            RJN, Ex. 5, pp.3 & 6; Ex. 12; Ex.
                  miscellaneous boom stands
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      27

      28    lot   roller rack, wood, with:
                                                             -9-
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       1                                                                               RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
                  (2) OMS Studio 5LX Opcode Systems midi interface
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
       2                                                                               RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
                  (1) ROLAND SDE-3000A digital delay
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
       3
                                                                                       RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
                  (1) TASCAM 122MKII tape player
       4                                                                              14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, pp.3 & 6; Ex. 12; Ex.
                  (1) ROLAND MKS-20 digital piano
       5                                                                              14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
       6          (2) TIMELINE Lynx time code modules
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, pp. 6; Ex. 12; Ex. 14;
       7          (1) HHB Burn-It Plus CD burner
                                                                                      Ex. 15; Barbour Decl. ¶¶4-6.
       8                                                                               RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
                  (1) BRAINSTORM SR26 dual time code distributor
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
       9                                                                               RJN, Ex. 5, pp. 6; Ex. 12; Ex. 14;
                  (1) MIDI time piece, 128-channels
                                                                                      Ex. 15; Barbour Decl. ¶¶4-6.
      10                                                                               RJN, Ex. 5, pp.3 & 6; Ex. 12; Ex.
                  (1) ROLAND Super JD/JD-990 synthesizer module
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      11
                                                                                       RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
                  (1) BILTREE patch bay
      12                                                                              14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
                  (1) LEXICON PCM70 digital effects processor
      13                                                                              14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
      14          (1) ELTEKON disc drive
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
      15          (1) S760 drive
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      16                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14;
                  (1) MONSTER Power AVS2000 Pro voltage stabilizer
                                                                                      Ex. 15; Barbour Decl. ¶¶4-6.
      17
                                                                                       RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
      18     2    MCI reel-to-reel 24-track recorder
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      19
                                                                                       RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
             1    MCI Autolocator II controller
      20                                                                              14; Ex. 15; Barbour Decl. ¶¶4-6.

      21                                                                               RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
             2    WESTLAKE AUDIO speakers (middle horn deteriorated)
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      22

      23                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14;
            lot   (14) sound catchers
                                                                                      Ex. 15; Barbour Decl. ¶¶4-6.
      24

      25                                                                               RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
             2    EVENT Precision 8 studio monitors
                                                                                      14; Ex. 15; Barbour Decl. ¶¶4-6.
      26
                                                                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      27     1    MACKIE HRS150 sub-woofer
                                                                                      15; Barbour Decl. ¶¶4-6.
      28
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       1          ELECTROCOMPANIET Ampliwire 180 monoclass A power                   RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
             4
                  amplifiers                                                         14; Ex. 15; Barbour Decl. ¶¶4-6.
       2

       3                                                                             RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
             2    YAMAHA table top speakers
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.
       4
                                                                                     RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
       5     2    WESTLAKE AUDIO speakers (middle horn deteriorated)
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.
       6
                  SONY Dash 48 reel-to-reel tape recorder with digital audio         RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
             1
       7          recorder/remote control unit RM-3348                               14; Ex. 15; Barbour Decl. ¶¶4-6.

       8
                  SONY Dash 48 Plus 48HR reel-to-reel tape recorder with             RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
             1
       9          digital audio recorder/remote control unit, RM-3348HR              14; Ex. 15; Barbour Decl. ¶¶4-6.

      10                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    DISC MAKERS Reflex Pro7 CD duplicator
      11                                                                             15; Barbour Decl. ¶¶4-6.

      12                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    TECHNICS SL-1200MK2 turntable
                                                                                     15; Barbour Decl. ¶¶4-6.
      13

      14                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             3    boxes miscellaneous used cords and cabling
                                                                                     15; Barbour Decl. ¶¶4-6.
      15
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      16     1    fog machine (labeled broken)
                                                                                     15; Barbour Decl. ¶¶4-6.
      17
                                                                                     RJN, Ex. 5, pp.1 & 6; Ex. 12; Ex.
             1    SONY mdl. Trinitron monitor
      18                                                                             14; Ex. 15; Barbour Decl. ¶¶4-6.

      19                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    BROTHER laser printer
                                                                                     15; Barbour Decl. ¶¶4-6.
      20

      21                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    ZENITH VCR
                                                                                     15; Barbour Decl. ¶¶4-6.
      22
                                                                                     RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
      23     2    WESTLAKE AUDIO speakers, large (poor condition)
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.
      24
                                                                                     RJN, Ex. 5, pp.1 & 6; Ex. 12; Ex.
      25    lot   box with computer, speakers, keyboard and printer
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.

      26
                                                                                     RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
             1    DBX 234/234XL crossover
      27                                                                             14; Ex. 15; Barbour Decl. ¶¶4-6.

      28
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       1                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    PHILIPS VCR
                                                                                  15; Barbour Decl. ¶¶4-6.
       2

       3                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    Moto DTP
                                                                                  15; Barbour Decl. ¶¶4-6.
       4
                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       5     1    RADIO SHACK 4-channel stereo microphone mixer
                                                                                  15; Barbour Decl. ¶¶4-6.
       6
                                                                                  RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
             1    SONY DMU-3048 digital meter unit
       7                                                                          14; Ex. 15; Barbour Decl. ¶¶4-6.

       8                                                                          RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
             1    SONY AC-MC800G AC power supply unit
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.
       9
      10                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
            lot   box of old telephones
                                                                                  15; Barbour Decl. ¶¶4-6.
      11

      12                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    RCA DVD player
      13                                                                          15; Barbour Decl. ¶¶4-6.

      14                                                                          RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
             1    SONY PCM-R300 high density linear A/D - D/A converter
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.
      15

      16                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    BOSS guitar tuner
                                                                                  15; Barbour Decl. ¶¶4-6.
      17
                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      18     1    TMC digital soldering station
                                                                                  15; Barbour Decl. ¶¶4-6.
      19
                                                                                  RJN, Ex. 5, p. 6; Barbour Decl.
             1    KALATEL Caliber RSM1600 remote surveillance module
      20                                                                          ¶¶4-6.

      21                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    drum kick pedal
                                                                                  15; Barbour Decl. ¶¶4-6.
      22

      23                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             3    foot pedals
                                                                                  15; Barbour Decl. ¶¶4-6.
      24
                                                                                  RJN, Ex. 5, p.2 & 6; Ex. 12; Ex. 14;
      25     2    AKG C535EB microphones
                                                                                  Ex. 15; Barbour Decl. ¶¶4-6.
      26
                                                                                  RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
      27     1    BEYER DYNAMIC M69N microphone
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.

      28
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       1                                                                            RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
             1    AVLEX DV67 microphone
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
       2

       3                                                                            RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
             1    SHURE SM58 microphone
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
       4
                                                                                    RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
       5     1    SHURE Unidyne III SM57 microphone
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
       6
                                                                                    RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
             1    SHURE Dynamic SM57 microphone
       7                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.

       8                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             3    SA40 adapters
                                                                                    15; Barbour Decl. ¶¶4-6.
       9
      10                                                                            RJN, Ex. 5,p. 6; Ex. 12; Ex. 14; Ex.
             2    CAD DI89 microphones
                                                                                    15; Barbour Decl. ¶¶4-6.
      11

      12                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    SHURE KSM27 microphone
      13                                                                            15; Barbour Decl. ¶¶4-6.

      14    lot   case with:
                                                                                    RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
      15          (1) SONY C-800 condenser microphone
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      16                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  (1) CANON T70 camera
                                                                                    15; Barbour Decl. ¶¶4-6.
      17                                                                            RJN, Ex. 5, p. 6; Ex. 15; Barbour
                  (1) NIKON N90S camera
                                                                                    Decl. ¶¶4-6.
      18                                                                            RJN, Ex. 5, pp. 6; Ex. 15; Barbour
                  (1) TAMRON mdl. 1760 lens
                                                                                    Decl. ¶¶4-6.
      19                                                                            RJN, Ex. 5, pp. 6; Ex. 15; Barbour
                  (1) NIKON Speedlight SB-28 flash
      20                                                                            Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, p. 6; Ex. 15; Barbour
                  (1) VIVITAR AutoThyristar 2600D flash
      21                                                                            Decl. ¶¶4-6.

      22                                                                            RJN, Ex. 5, p. 6; Barbour Decl.
             1    plastic organizer with 4-drawers
                                                                                    ¶¶4-6.
      23

      24          BISLEY green rolling metal tool box with miscellaneous tools      RJN, Ex. 5, p. 6; Barbour Decl.
             1
                  and parts                                                         ¶¶4-6.
      25

      26
      27                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    digital claptrap clap machine
                                                                                    15; Barbour Decl. ¶¶4-6.
      28
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       1                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    TRUE 1x4 midi thru box
                                                                                   15; Barbour Decl. ¶¶4-6.
       2

       3                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    REALISTIC sound level meter
                                                                                   15; Barbour Decl. ¶¶4-6.
       4
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       5     1    ST500 guitar tuner
                                                                                   15; Barbour Decl. ¶¶4-6.
       6
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    SM-1A passive direct box
       7                                                                           15; Barbour Decl. ¶¶4-6.

       8                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    BOSS TU-100 chromatic tuner
                                                                                   15; Barbour Decl. ¶¶4-6.
       9
      10                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    TECHNICS 2-channel box
                                                                                   15; Barbour Decl. ¶¶4-6.
      11
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      12     1    BOSS FS-5u pedal
                                                                                   15; Barbour Decl. ¶¶4-6.
      13
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      14     1    guitar pedal
                                                                                   15; Barbour Decl. ¶¶4-6.
      15
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             2    boxes miscellaneous circuit boards/cards
      16                                                                           15; Barbour Decl. ¶¶4-6.

      17                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             2    keyboards
                                                                                   15; Barbour Decl. ¶¶4-6.
      18

      19                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
            lot   computer speakers
                                                                                   15; Barbour Decl. ¶¶4-6.
      20
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      21     1    FOG system with Anvil case
                                                                                   15; Barbour Decl. ¶¶4-6.
      22
                                                                                    RJN, Ex. 5, p. 6; Barbour Decl.
             2    miscellaneous computer cords
      23                                                                           ¶¶4-6.

      24                                                                            RJN, Ex. 5, p. 6; Barbour Decl.
             1    bin miscellaneous telephone parts
      25                                                                           ¶¶4-6.

      26                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
             1    drum seat - no base
                                                                                   15; Barbour Decl. ¶¶4-6.
      27

      28     1    BROTHER labeler                                                   RJN, Ex. 5, p. 6; Barbour Decl.
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       1                                                                             ¶¶4-6.

       2
                                                                                     RJN, Ex. 5, p. 6; Barbour Decl.
             1    calculator
       3                                                                             ¶¶4-6.

       4                                                                             RJN, Ex. 5, p. 6; Barbour Decl.
            lot   (6) power strips
                                                                                     ¶¶4-6.
       5

       6                                                                              RJN, Ex. 5, p. 6; Barbour Decl.
            lot   box of manuals
                                                                                     ¶¶4-6.
       7
                                                                                     RJN, Ex. 5, pp.1 & 6; Ex. 12; Ex.
       8     3    APPLE MAC computers
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.
       9
                                                                                     RJN, Ex. 5, p. 6; Barbour Decl.
            lot   (11) framed awards/plaques
      10                                                                             ¶¶4-6.

      11
                  (2) large bins of miscellaneous wiring, cables, cords, power       RJN, Ex. 5, p. 6; Barbour Decl.
            lot
      12          strips                                                             ¶¶4-6.

      13                                                                             RJN, Ex. 5, p. 6; Barbour Decl.
             1    EPSON printer
                                                                                     ¶¶4-6.
      14

      15                                                                              RJN, Ex. 5, pp.1 & 6; Ex. 12; Ex.
             1    old personal computer
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.
      16
                                                                                      RJN, Ex. 5, pp.4 & 6; Ex. 12; Ex.
      17     1    PANASONIC SV3800 DAT recorder
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.
      18
                                                                                      RJN, Ex. 5, pp.5 & 6; Ex. 12; Ex.
      19     3    external hard drives
                                                                                     14; Ex. 15; Barbour Decl. ¶¶4-6.
      20
                                                                                      RJN, Ex. 5, p. 6; Barbour Decl.
            lot   box miscellaneous cables
      21                                                                             ¶¶4-6.

      22                                                                             RJN, Ex. 5, pp.1 & 6; Ex. 12; Ex. 14;
            lot   box (3) personal computer monitors
                                                                                     Ex. 15; Barbour Decl. ¶¶4-6.
      23

      24          HONDA motorcycle, mdl. CBR1000F, year 1988,
                  vin#1HESC211XJA100658, no license plate, farings are off the
      25     1
                  motorcle but present and in poor condition, rear brakes are        RJN, Ex. 5, pp.1 & 6; Ex. 12; Ex.
                  bound (poor condition - non-operable)                              14; Ex. 15; Barbour Decl. ¶¶4-6.
      26
      27          BOX #1
                  - personal and legal papers                                         RJN, Ex. 5, p. 6; Barbour Decl.
      28
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       1                                                                           ¶¶4-6.

       2
                 BOX #2
       3                                                                           RJN, Ex. 5, p. 6; Barbour Decl.
                  (4) DVD studio clips & effects
                                                                                   ¶¶4-6.
       4          (3) BETA CAM tapes, various artists
                                                                                   RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
       5          (3) #64 SONY digital Betacam tapes - no markings
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       6                                                                           RJN, Ex. 5, p. 6; Barbour Decl.
                  (1) 4" floppy
                                                                                   ¶¶4-6.
       7                                                                           RJN, Ex. 5, pp.2 & 6; Ex. 12; Ex.
                  (4) DAT cassettes
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       8                                                                           RJN, Ex. 5, p. 6; Barbour Decl.
                  (2) cassette tapes
                                                                                   ¶¶4-6.
       9
                                                                                   RJN, Ex. 5, p. 6; Barbour Decl.
                  (13) DVD studio sessions
      10                                                                           ¶¶4-6.

      11         BOX #3
                                                                                   RJN, Ex. 5, p. 6; Barbour Decl.
      12          - miscellaneous personal paperwork, mail, etc.
                                                                                   ¶¶4-6.
      13
                 BOX #4
      14                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 Box of Masters consisting of:
                                                                                   15; Barbour Decl. ¶¶4-6.
      15
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - blank master
      16                                                                           15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Rene Rufftown master
      17                                                                           15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      18          - Lew Mac Rufftown master
                                                                                   15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      19          - Black Chill - The Kush master
                                                                                   15; Barbour Decl. ¶¶4-6.
      20                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Amanda master
                                                                                   15; Barbour Decl. ¶¶4-6.
      21                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Amanda Rufftown master
                                                                                   15; Barbour Decl. ¶¶4-6.
      22                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Black Chill master
                                                                                   15; Barbour Decl. ¶¶4-6.
      23
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Rene Street Songs master
      24                                                                           15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Rene master
      25                                                                           15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      26          - Rene Street Songs master
                                                                                   15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      27          - Rene Street Songs master
                                                                                   15; Barbour Decl. ¶¶4-6.
      28
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    MAUSS                                                      INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1         BOX #5
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       2         (47) in-studio CD sessions
                                                                                     15; Barbour Decl. ¶¶4-6.
       3                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (5) unused DAT tapes
                                                                                     15; Barbour Decl. ¶¶4-6.
       4                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 Spindles of in-studio CD sessions:
                                                                                     15; Barbour Decl. ¶¶4-6.
       5                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  (1) w/110
                                                                                     15; Barbour Decl. ¶¶4-6.
       6                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  (2) w/110
       7                                                                             15; Barbour Decl. ¶¶4-6.
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  (3) w/110
       8                                                                             15; Barbour Decl. ¶¶4-6.
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       9          (1) w/45
                                                                                     15; Barbour Decl. ¶¶4-6.
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      10          (1) w/20
                                                                                     15; Barbour Decl. ¶¶4-6.
      11
                 BOX #6
      12                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (52) cassette tapes made in-studio/various titles
                                                                                     15; Barbour Decl. ¶¶4-6.
      13                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (11) VHS tapes - various in-studio sessions
      14                                                                             15; Barbour Decl. ¶¶4-6.

      15         BOX #7
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      16         (25) DAT tapes - various sessions
                                                                                     15; Barbour Decl. ¶¶4-6.
      17                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (22) 4" floppy disks - no markings
                                                                                     15; Barbour Decl. ¶¶4-6.
      18
                 BOX #8
      19                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (39) DAT tapes - miscellaneous in-studio sessions
      20                                                                             15; Barbour Decl. ¶¶4-6.

      21         BOX #9
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      22          - 1 bin of (23) sound tracks software for recording
                                                                                     15; Barbour Decl. ¶¶4-6.
      23         BOX #10
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (37) cables, electrical adapters
      24                                                                             15; Barbour Decl. ¶¶4-6.
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      25         (1) 3" electric fan
                                                                                     15; Barbour Decl. ¶¶4-6.
                                                                                     RJN, Ex. 5, p. 6; Barbour Decl.
      26         (2) iPhone chargers
                                                                                     ¶¶4-6.
      27
                 BOX #11
      28
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    MAUSS                                                        INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (29) commercially released CD's - various artists
                                                                                    15; Barbour Decl. ¶¶4-6.
       2

       3         BOX #12
                                                                                     RJN, Ex. 5, p. 6; Barbour Decl.
                 (22) blank CD's
       4                                                                            ¶¶4-6.

       5
                 BOX #13
       6         (5) large digital audio master tapes - labeled miscellaneous       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 artists                                                            15; Barbour Decl. ¶¶4-6.
       7                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) BELINDA LEWIS large digital audio tape
                                                                                    15; Barbour Decl. ¶¶4-6.
       8                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) HIPNOTIE LOVE master tape
                                                                                    15; Barbour Decl. ¶¶4-6.
       9
                                                                                     RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) blank tape reel
      10                                                                            ¶¶4-6.

      11         BOX #14
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
      12         Box software consisting of:
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      13                                                                            RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) PRO DRUM sample software, "BATTERY 2"
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      14                                                                            RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) PRO TOOLS Version 4.2 floppy disc
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      15                                                                            RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) ELAB IGNITION virtual instrument series software
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      16
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) APPLE LOGIC studio software
      17                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) WIZOO/VST INSTRUMENTS virtual guitarist software
      18                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
      19          (1) MOTU BPM BEAT Production Machine software                     14; Ex. 15; Barbour Decl. ¶¶4-6.
      20
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) WAVES RENAISSANCE MAXX NATIVE software
      21                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) APPLE MAC OSX TIGER software
      22                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
      23          (1) MOTU Electric Keys software
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
      24          (1) EMAGIC LOGIC PRO6 Upgrade A software
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      25                                                                            RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) BFD Premium Acoustic Drum module
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      26                                                                            RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  (1) VINTAGE LINE Pro 53 software
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      27         (1) ROLAND Expansion board SRX Series SRX08 - Platinum             RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                 Trax                                                               14; Ex. 15; Barbour Decl. ¶¶4-6.
      28
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       1
                 BOX #15
       2
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  - VIRTUAL GUITAR Electric Edition (Steinberg) - software
       3                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 2 & 6; Ex. 12; Ex.
                  - EMAGIC VINTAGE Collection EVB3, EVDC, EVP88 - software
       4                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.

       5
                 BOX #16
       6         VHS Tapes - RUFFTOWN/MAYBACH/LIGHTNING MEDIA/RYKO                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 DISTRIBUTION consisting of:                                        15; Barbour Decl. ¶¶4-6.
       7                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (25) Adina Howard VHS Tapes
                                                                                    15; Barbour Decl. ¶¶4-6.
       8              - The Second Coming, Misc. 30-second spots
       9                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (2) CD's - SYLK-E FYNE RUFFTOWN ENT. SNOOP DOGG, BILLY             15; Barbour Decl. ¶¶4-6.
      10         BOY, JT MONEY, LUKEE & NICOLE RENEE

      11                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (7) Adina Howard CD's
                                                                                    15; Barbour Decl. ¶¶4-6.
      12                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (3) Rene CD's - Rufftown
      13                                                                            15; Barbour Decl. ¶¶4-6.

      14         BOX #17
                                                                                     RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
      15         (12) AMBIENCE sound effects CD's 3001-3012
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      16                                                                            RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (5) WARNER BROS. sound effects library WB01-WB05
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      17                                                                            RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (5) SOUND IDERS sound effects library 4001-4005
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      18                                                                            RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (28) SOUND IDES sound effects library 1001-1028
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      19                                                                            RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (4) SOUND IDES sound effects library 2007, 2010, 2012, 2013
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      20
                                                                                    RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (3) FUN WITH SOUND EFFECTS
      21                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (1) SOUNDS OF FASCINATING ANIMAL WORLD
      22                                                                            14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
      23         (2) recordable CD's
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
      24         (6) LUCAS FILM sound effects library LF01-LF06
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      25                                                                            RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (5) UNIVERSAL STUDIOS effects library US01-US05
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      26                                                                            RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (1) TDK VHS tape
                                                                                    14; Ex. 15; Barbour Decl. ¶¶4-6.
      27

      28         BOX #18
                                                             -19-
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    MAUSS                                                       INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                                                                              RJN, Ex. 5, p. 6; Barbour Decl.
                 (6) picture reels
                                                                                     ¶¶4-6.
       2

       3         BOX #19
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 tape reel masters consisting of:
       4                                                                             15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       5          - RENE STREET SONGS master
                                                                                     15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       6          - AMANDA master
                                                                                     15; Barbour Decl. ¶¶4-6.
       7                                                                              RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - AMANDA master
                                                                                     15; Barbour Decl. ¶¶4-6.
       8                                                                              RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - RENE & ANGELA master
                                                                                     15; Barbour Decl. ¶¶4-6.
       9                                                                              RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - blank master
                                                                                     15; Barbour Decl. ¶¶4-6.
      10
                                                                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - RENE STREET SONGS master
      11                                                                             15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - RENE & ANGELA master
      12                                                                             15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      13          - unmarked master
                                                                                     15; Barbour Decl. ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      14          - miscellaneous artist master
                                                                                     15; Barbour Decl. ¶¶4-6.
      15                                                                              RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (2)blank master tapes
                                                                                     15; Barbour Decl. ¶¶4-6.
      16                                                                              RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (4) SYLK-E FYNE records
                                                                                     15; Barbour Decl. ¶¶4-6.
      17                                                                              RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - SILK-E FYNE master
                                                                                     15; Barbour Decl. ¶¶4-6.
      18

      19         BOX #20
                 Software consisting of:
      20                                                                             RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  (1) FINAL CUT Pro4 - APPLE
      21                                                                             14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                     RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  (1) LOGIC PRO 7 - APPLE
      22                                                                             14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                     RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      23          (1) BFD Drum Module XFL
                                                                                     15; Barbour Decl. ¶¶4-6.

      24
                 BOX #21
      25                                                                             RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 DESTINY'S CHILD TAPES - (23) black box - DM60 tapes
                                                                                     15; Barbour Decl. ¶¶4-6.
      26
                 filing cabinets, 4-drawer, metal, vertical with personal            RJN, Ex. 5, p. 6; Barbour Decl.
      27     2
                 paperwork and files                                                 ¶¶4-6.
      28
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    MAUSS                                                        INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1         BOX #22
                                                                                  RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
       2         (1) 2004 MOTION (APPLE) - unopened
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.
       3                                                                          RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  - Real Time Graphic Design (MAC G5 G4 with card)
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.
       4                                                                          RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (1) 2007 HD final cut studio 2 (MAC) - unopened
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.
       5                                                                          RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                 (1) 2005 Shake 4 (MAC/APPLE) - unopened
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.
       6                                                                          RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
                  - Advanced Digital Compositing
       7                                                                          14; Ex. 15; Barbour Decl. ¶¶4-6.

       8         BOX #23
                                                                                  RJN, Ex. 5, pp. 5 & 6; Ex. 12; Ex.
       9         (14) film reels/KODAK film reels
                                                                                  14; Ex. 15; Barbour Decl. ¶¶4-6.
      10
                 BOX #24
      11                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 box of masters consisting of:
                                                                                  15; Barbour Decl. ¶¶4-6.
      12                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - VJ TV master
      13                                                                          15; Barbour Decl. ¶¶4-6.
                 - (2) RUFFTOWN SYLK-E FYNE featuring SNOOP DOG & BIZZY           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      14         DOVE master                                                      15; Barbour Decl. ¶¶4-6.
                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      15          - HIP HOP NATION master/MY BOY EDDIE
                                                                                  15; Barbour Decl. ¶¶4-6.
                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      16          - GROOVE PALLER master
                                                                                  15; Barbour Decl. ¶¶4-6.
      17                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - DISIFER master
                                                                                  15; Barbour Decl. ¶¶4-6.
      18                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - NECFC DFF in FLORIDA master
                                                                                  15; Barbour Decl. ¶¶4-6.
      19                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - (3) YA STYLE RUFFTOWN masters
                                                                                  15; Barbour Decl. ¶¶4-6.
      20                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      21          - RUFFTOWN SYLK-E FYNE master                                   15; Barbour Decl. ¶¶4-6.

      22                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - WILL POWER master
                                                                                  15; Barbour Decl. ¶¶4-6.
      23                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - IN THE MIX PEEP SHOW master
                                                                                  15; Barbour Decl. ¶¶4-6.
      24                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - LUKEE master reel
                                                                                  15; Barbour Decl. ¶¶4-6.
      25

      26         BOX #25
                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      27         (240) ADAM LAMBERT CD's - shrink-wrapped
                                                                                  15; Barbour Decl. ¶¶4-6.
      28
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    MAUSS                                                     INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1         BOX #26
                                                                                RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       2         (240) ADAM LAMBERT CD's
                                                                                15; Barbour Decl. ¶¶4-6.
       3
                 BOX #27
       4                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (250) ADAM LAMBERT CD's - shrink-wrapped
                                                                                15; Barbour Decl. ¶¶4-6.
       5

       6         BOX #28
                                                                                RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       7         (1) flexible disk cartridge
                                                                                15; Barbour Decl. ¶¶4-6.
                                                                                RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       8         (3) white box music reels
                                                                                15; Barbour Decl. ¶¶4-6.
       9                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) sound recording tape
                                                                                15; Barbour Decl. ¶¶4-6.
      10                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) music reel - POLY GRAM
                                                                                15; Barbour Decl. ¶¶4-6.
      11                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) music reel - RENE & ANGELA
                                                                                15; Barbour Decl. ¶¶4-6.
      12                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) FIRST LOVE master reel
      13                                                                        15; Barbour Decl. ¶¶4-6.
                                                                                RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) STREET CALLED - master reel
      14                                                                        15; Barbour Decl. ¶¶4-6.
                                                                                RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      15         (1) master reel - RENE & ANGELA
                                                                                15; Barbour Decl. ¶¶4-6.

      16
                 BOX #29
      17                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (250) ADAM LAMBERT CD's
                                                                                15; Barbour Decl. ¶¶4-6.
      18
                 BOX #30
      19
                                                                                  RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) case floppy discs
      20                                                                        ¶¶4-6.
                                                                                RJN, Ex. 5, pp. 3 & 6; Ex. 12; Ex.
      21         (1) MINIMOOG V - ARTURIA
                                                                                14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                  RJN, Ex. 5, p. 6; Barbour Decl.
      22         (1) bag mic parts
                                                                                ¶¶4-6.
      23                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) DAT digital audio tape
                                                                                15; Barbour Decl. ¶¶4-6.
      24                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) STYLUS vinyl groove module
                                                                                15; Barbour Decl. ¶¶4-6.
      25                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) ATMOSPHERE - dream synth module
                                                                                15; Barbour Decl. ¶¶4-6.
      26                                                                        RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) TRILOGY - total bass module
      27                                                                        15; Barbour Decl. ¶¶4-6.

      28         BOX #31
                                                        -22-
ASSAYAG                                                    ____________________________________________________________
    MAUSS                                                   INVENTORY AND VERIFICATION OF ITEMS SEIZED
     Case 2:17-cv-02312-VAP-JEM Document 37 Filed 06/16/17 Page 25 of 31 Page ID #:840



       1         software consisting of:
                                                                                   RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
       2         (1) PRO TOOLS - Digi Rack Plug-Ins
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       3                                                                           RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                 (1) AUTO-TUNE 4 set
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       4                                                                           RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                 (1) WASP bar code fontware
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       5                                                                           RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                 (1) PRO TOOLS - HD8 book set
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
       6                                                                           RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                 (1) PRO TOOLS books
       7                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
                 (1) JUPITER-8V - ARTURIA
       8                                                                           14; Ex. 15; Barbour Decl. ¶¶4-6.

       9         BOX #32
      10                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (5) KODAK reels, Vision-2
                                                                                   15; Barbour Decl. ¶¶4-6.
      11
                 BOX #33
      12                                                                             RJN, Ex. 5, p. 6; Barbour Decl.
                 (26) miscellaneous CD's
      13                                                                           ¶¶4-6.

      14         BOX #34
                 software consisting of:
      15
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - LAVA 2000 AD 01 AdV2.0 - Music in Motion
      16                                                                           15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      17          - Alpha Dance - Producer Remixer Production Tool                 15; Barbour Decl. ¶¶4-6.

      18                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Synclavier sample
                                                                                   15; Barbour Decl. ¶¶4-6.
      19
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      20          - Tekno Industrial CD                                            15; Barbour Decl. ¶¶4-6.

      21                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Adat XT reference manual
                                                                                   15; Barbour Decl. ¶¶4-6.
      22                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - CANON Power Shot SD552 owner manual
                                                                                   15; Barbour Decl. ¶¶4-6.
      23
                                                                                   RJN, Ex. 5, p. 1 & 6; Ex. 12; Ex. 14;
                  - APPLE software
      24                                                                           Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - A/D converter HDA-1, AIWA
      25                                                                           15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
      26          - Project II - WINDOWS NT Q4, 1998 (Digidesign)
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, pp. 1 & 6; Ex. 12; Ex.
      27          - Transfuser (Digidesign)
                                                                                   14; Ex. 15; Barbour Decl. ¶¶4-6.
      28          - VST to Audio unit adapter                                      RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                                                            -23-
ASSAYAG                                                       ____________________________________________________________
    MAUSS                                                      INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                                                                            15; Barbour Decl. ¶¶4-6.
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       2          - STRIKE Ultimate Virtual drummer
                                                                                    15; Barbour Decl. ¶¶4-6.
       3                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - BFD2 upgrade expansion
                                                                                    15; Barbour Decl. ¶¶4-6.
       4                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Propellerhead (REASON)
                                                                                    15; Barbour Decl. ¶¶4-6.
       5                                                                            RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                  - Wirelegg Mouse
                                                                                    15; Barbour Decl. ¶¶4-6.
       6

       7         BOX #35
                                                                                    RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       8         (4) RENE & ANGELA music reels
                                                                                    15; Barbour Decl. ¶¶4-6.
       9
      10         BOX #36
                 ADINA HOWARD 2004 mixed VHS, CD's, DVD's - Second                    RJN, Ex. 5, p. 6; Barbour Decl.
      11         Coming                                                             ¶¶4-6.

      12
                 BOX #37
      13                                                                              RJN, Ex. 5, p. 6; Barbour Decl.
                 (11) SYLK-E FYNE film reels
                                                                                    ¶¶4-6.
      14
                 BOX #38
      15
                                                                                      RJN, Ex. 5, p. 6; Barbour Decl.
                 (4) GP9 Studio master audio tapes
      16                                                                            ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Barbour Decl.
                 (2) Monster Power Pro-7000 (power conditioner)
      17                                                                            ¶¶4-6.

      18
                 BOX #39
      19                                                                              RJN, Ex. 5, p. 6; Barbour Decl.
                 (240) ADAM LAMBERT CD's - full case
                                                                                    ¶¶4-6.
      20
                 BOX #40
      21
                                                                                      RJN, Ex. 5, p. 6; Barbour Decl.
                 (2) miscellaneous random boxes with parts - blue top
      22                                                                            ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) wood-looking speaker part
      23                                                                            ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Barbour Decl.
      24         (3) SONY disc reels
                                                                                    ¶¶4-6.
                                                                                      RJN, Ex. 5, p. 6; Barbour Decl.
      25         (1) black box with (15) miscellaneous CD's & (8) floppy discs
                                                                                    ¶¶4-6.
      26                                                                              RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) wireless video receiver
                                                                                    ¶¶4-6.
      27                                                                              RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) tape wrapped in foil - Bruce Swedien
                                                                                    ¶¶4-6.
      28
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ASSAYAG                                                        ____________________________________________________________
    MAUSS                                                       INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                                                                            RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) REALISTIC cassette player
                                                                                  ¶¶4-6.
       2                                                                            RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) MRL - Calibration tape
                                                                                  ¶¶4-6.
       3
                                                                                    RJN, Ex. 5, p. 6; Barbour Decl.
                 (7) miscellaneous reels
       4                                                                          ¶¶4-6.
                                                                                    RJN, Ex. 5, p. 6; Barbour Decl.
                 (1) VHS tape
       5                                                                          ¶¶4-6.
                                                                                    RJN, Ex. 5, p. 6; Barbour Decl.
       6         (1) SONY Magnet-Optical disc
                                                                                  ¶¶4-6.
                                                                                    RJN, Ex. 5, p. 6; Barbour Decl.
       7         (41) miscellaneous CD's
                                                                                  ¶¶4-6.
       8
                 BOX #41
       9                                                                          RJN, Ex. 5, p. 6; Barbour Decl.
                 (66) miscellaneous floppy discs
                                                                                  ¶¶4-6.
      10
                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (20) DVC's - digital video cassettes
      11                                                                          15; Barbour Decl. ¶¶4-6.
                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (9) miscellaneous VHS tapes
      12                                                                          15; Barbour Decl. ¶¶4-6.
                                                                                  RJN, Ex. 5, p. 6; Barbour Decl.
      13         (1) stack of miscellaneous CD's
                                                                                  ¶¶4-6.
                                                                                  RJN, Ex. 5, p. 6; Barbour Decl.
      14         (4) GP9 red reels
                                                                                  ¶¶4-6.
      15                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) 996 audio mastering tape - artist - SLAVE MASTER
                                                                                  15; Barbour Decl. ¶¶4-6.
      16                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) GP9-9 reel - artist - TARYN SCALI
                                                                                  15; Barbour Decl. ¶¶4-6.
      17                                                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (5) GP9 reels - artist - RENE
                                                                                  15; Barbour Decl. ¶¶4-6.
      18
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (2) FOTO KEM - film and video reels
      19                                                                          15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) SCOTCH - 250 audio recording tape
      20                                                                          15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      21         (1) SONY - dash audio master tape
                                                                                  15; Barbour Decl. ¶¶4-6.
      22
                 BOX #42
      23         SYLK-E FINE - Flyers photos
                 (11) blue box master tapes
      24
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (70) black box DA8 tapes
      25                                                                          15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (6) miscellaneous CD's
      26                                                                          15; Barbour Decl. ¶¶4-6.
                                                                                   RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      27         (1) VHS cassette
                                                                                  15; Barbour Decl. ¶¶4-6.
                 (4) miscellaneous tapes                                           RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      28
                                                            -25-
ASSAYAG                                                      ____________________________________________________________
    MAUSS                                                     INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1                                                                              15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       2         (3) miscellaneous discs
                                                                                      15; Barbour Decl. ¶¶4-6.
       3                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (4) KCA - SONY tapes
                                                                                      15; Barbour Decl. ¶¶4-6.
       4                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (33) SYLK-E FYNE records
                                                                                      15; Barbour Decl. ¶¶4-6.
       5

       6         BOX #43
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (81) miscellaneous CD's
       7                                                                              15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       8         (2) miscellaneous DVD's
                                                                                      15; Barbour Decl. ¶¶4-6.
       9
                 BOX #44
      10                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) VIVITAR camera
                                                                                      15; Barbour Decl. ¶¶4-6.
      11                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (200) blank CD's
                                                                                      15; Barbour Decl. ¶¶4-6.
      12                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (1) VHS tape
      13                                                                              15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (200) miscellaneous software CD's
      14                                                                              15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      15         (100) miscellaneous software CD's
                                                                                      15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      16         (60) miscellaneous music CD's, various artists
                                                                                      15; Barbour Decl. ¶¶4-6.
      17
                 BOX #45
      18                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (6) GP9 blank Quantegy tapes - grand master
                                                                                      15; Barbour Decl. ¶¶4-6.
      19

      20
                 BOX #46
      21                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (72) RUFFTOWN - DAT cassettes - SYLK-E FYNE
                                                                                      15; Barbour Decl. ¶¶4-6.
      22                                                                               RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (60) miscellaneous floppy discs
                                                                                      15; Barbour Decl. ¶¶4-6.
      23
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (4) cassettes - various artists
      24                                                                              15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                 (3) miscellaneous CD's - various artists
      25                                                                              15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      26         (1) PPG Wave 2.V Wavetable for VST
                                                                                      15; Barbour Decl. ¶¶4-6.
                                                                                       RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
      27         (18) miscellaneous VHS tapes
                                                                                      15; Barbour Decl. ¶¶4-6.
      28
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ASSAYAG                                                          ____________________________________________________________
    MAUSS                                                         INVENTORY AND VERIFICATION OF ITEMS SEIZED
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       1           BOX #47
                                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       2           (47) miscellaneous music CD's - various artists
                                                                                         15; Barbour Decl. ¶¶4-6.
       3                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                   miscellaneous books
                                                                                         15; Barbour Decl. ¶¶4-6.
       4                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                   (60) TDK - IBM formatted discs
                                                                                         15; Barbour Decl. ¶¶4-6.
       5

       6           BOX #48
                                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                   (15) miscellaneous cassette tapes - various artists
       7                                                                                 15; Barbour Decl. ¶¶4-6.
                                                                                          RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
       8           (4) miscellaneous VHS tapes
                                                                                         15; Barbour Decl. ¶¶4-6.
       9
                   BOX #49
      10                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                   Software consisting of:
                                                                                         15; Barbour Decl. ¶¶4-6.
      11                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                   (1) Komplete 6
                                                                                         15; Barbour Decl. ¶¶4-6.
      12                                                                                  RJN, Ex. 5, p. 6; Ex. 12; Ex. 14; Ex.
                   (1) CS-80V
      13                                                                                 15; Barbour Decl. ¶¶4-6.

      14

      15    Dated: June 16, 2017                                     ASSAYAG  MAUSS
      16
                                                                     A Limited Liability Partnership

      17

      18
                                                                     By: /s/Joshua K. Partington
                                                                        JOSHUA K. PARTINGTON
      19                                                             Attorneys for Judgment Creditor,
                                                                     WELLS FARGO BANK, N.A.
      20

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ASSAYAG                                                             ____________________________________________________________
    MAUSS                                                            INVENTORY AND VERIFICATION OF ITEMS SEIZED
        Case 2:17-cv-02312-VAP-JEM Document 37 Filed 06/16/17 Page 30 of 31 Page ID #:845



       1                                      PROOF OF SERVICE
       2
            I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
       3    My business address is: 2915 Red Hill Avenue, Suite A200, Costa Mesa, CA 92626.
       4
            A true and correct copy of the foregoing document entitled (specify): INVENTORY AND
       5    VERIFICATION OF ITEMS SEIZED PURSUANT TO ORDER RE:
            INSTRUCTION TO U.S. MARSHAL TO LEVY UPON PERSONAL PROPERTY
       6    OF JUDGMENT DEBTORS; MEMORANDUM OF POINTS AND AUTHORITIES
            will be served or was served (a) on the judge in chambers in the form and manner required
       7    by LBR 5005-2(d); and (b) in the manner stated below:
       8    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
       9    (NEF): Pursuant to controlling General Orders and LR, the foregoing document will be
            served by the court via NEF and hyperlink to the document. On June 16, 2017, I checked
      10    the CM/ECF docket for this case and determined that the following persons are on the
      11    Electronic Mail Notice List to receive NEF transmission at the email addresses stated
            below:
      12

      13       •   Michele Sabo Assayag: efilings@amlegalgroup.com
               •   Byron B Mauss: byronm@amlegalgroup.com,efilings@amlegalgroup.com
      14       •   Joshua Kenneth Partington: efilings@amlegalgroup.com
      15       •   Andrew K Stefatos: stefatosandrew@gmail.com
      16                                          Service information continued on attached page
      17
            2. SERVED BY UNITED STATES MAIL: Pursuant to F.R.Civ.P. 5 and/or controlling
      18    LR, on June 16, 2017, I served the following persons and/or entities at the last known
      19    addresses in this case by placing a true and correct copy thereof in a sealed envelope in the
            United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
      20    here constitutes a declaration that mailing to the judge will be completed no later than 24
      21    hours after the document is filed.
      22    Ivan Rene Moore
      23    1236 Redondo Boulevard
            Los Angeles, CA 90019
      24

      25                                          Service information continued on attached page
      26

      27

      28

ASSAYAG                                                 _________________________________________________________
    MAUSS
                                                         INVENTORY AND VERIFICATION OF ITEMS SEIZED
        Case 2:17-cv-02312-VAP-JEM Document 37 Filed 06/16/17 Page 31 of 31 Page ID #:846



       1    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
       2    TRANSMISSION OR EMAIL (state method for each person or entity served):
            Pursuant to F.R.Civ.P. 5 and/or controlling LR, on ______, 2017, I served the following
       3    persons and/or entities by overnight mail service as follows. Listing the judge here
       4    constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
            completed no later than 24 hours after the document is filed.
       5

       6                                         Service information continued on attached page

       7    I declare under penalty of perjury under the laws of the United States that the foregoing is
       8    true and correct.
       9    June 16, 2017            ISABEL DELGADO                     /s/ Isabel Delgado
      10    Date                     Printed Name                       Signature
      11

      12

      13

      14

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ASSAYAG                                                 _________________________________________________________
    MAUSS
                                                         INVENTORY AND VERIFICATION OF ITEMS SEIZED
